   

Case 1:18-cv-05405-TCB Document 1-1 Filed 11/27/18 Page 1of 2
IS44 (Rev. 6/2017 NDGA) CIVIL COVER SHEET

The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)

 

 

I. (a) PLAINTIFEF(S) DEFENDANT(S)
JIN KWON and ASIAN AMERICANS ADVANCING ROBYN A. CRITTENDEN, SECRETARY OF STATE OF
JUSTICE-ATLANTA GEORGIA
(b) COUNTY OF RESIDENCE OF FIRST LISTED COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF Dekalb DEFENDANT Fulton
{EXCEPT IN U.S. PLAINTIFF CASES) {IN U.S. PLAINTIFF CASES ONLY)
NOTE; IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED
(c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND ATTORNEYS (IF KNOWN)
E-MAIL ADDRESS)
Patrick Flinn
Daniel Huynh

Alston and Bird LLP
1201 West Peachtree Street
Atlanta, GA 30309

 

 

II. BASIS OF JURISDICTION I. CITIZENSHIP OF PRINCIPAL PARTIES
(PLACE AN “X” IN ONE BOX ONLY) {PLACE AN “X" IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
(FOR DIVERSITY CASES ONLY)
PLF DEF PLE DEF
Ch US, GOVERNMENT [4]; FEDERAL QUESTION C 1 C 1 CITIZEN OF THIS STATE C] 4 C] 4 INCORPORATED OR PRINCIPAL
PLAINTIFF (U.S. GOVERNMENT NOT A PARTY) PLACE OF BUSINESS IN THIS STATE
LI U.S. GOVERNMENT CI, DIVERSITY CI, CO, CITIZEN OF ANOTHER staveL_] § CI, INCORPORATED AND PRINCIPAL
DEFENDANT UNDICATE CITIZENSHIP OF PARTIES PLACE OF BUSINESS IN ANOTHER STATE
IN ITEM ITT}
C1, C1; CITIZEN OR SUBJECT OF A O 6 | 6 FOREIGN NATION

FOREIGN COUNTRY.

 

 

IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
C] C] C] [| TRANSFERRED FROM Cl MULTIDISTRICT | APPEAL TO DISTRICT JUDGE
1 ORIGINAL 2 REMOVED FROM 3 REMANDED FROM 4 REINSTATED OR § ANOTHER DISTRICT 6 LITIGATION - 7 FROM MAGISTRATE JUDGE
PROCEEDING STATE COURT APPELLATE COURT REOPENED (Specify District) TRANSFER JUDGMENT

MULTIDISTRICT
8. LITIGATION ~
DIRECT FILE

 

Vv. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING. AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
JURISDICTIONAL STATUTES UNLESS DIVERSITY)

The enforcement of O.C.G.A, 21-2-409(b)(2) is in violation of Section 208 of the Voting Rights Act, 52 USC 10508, the
Supremacy Clause, Section 2 of Voting Rights Act, 52 USC 10301; and the First and Fourteenth Amendments.

(IF COMPLEX, CHECK REASON BELOW)

| 1. Unusually large number of parties. O 6. Problems locating or preserving evidence

| 2. Unusually large number of claims or defenses. CJ 7. Pending parallel investigations or actions by government.
CJ 3. Factual issues are exceptionally complex O 8. Multiple use of experts.

C 4, Greater than normal volume of evidence. CI 9. Need for discovery outside United States boundaries.

O 5, Extended discovery period is needed. Cho. Existence of highly technical issues and proof.

 

CONTINUED ON REVERSE

 
Case 1:18-cv-05405-TCB Document 1-1 Filed 11/27/18 Page 2 of 2

VI. NATURE OF SUIT {PLACE AN “X” IN ONE BOX ONLY)

CONTRACT - "0" MONTHS DISCOVERY TRACK
[LJ 150 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT
(J 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans)
153 RECOVERY OF OVERPAYMENT OF
VETERAN'S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK
110 INSURANCE
Hy 120 MARINE
130 MILLER ACT
Cl 140 NEGOTIABLE INSTRUMENT
151 MEDICARE ACT
160 STOCKHOLDERS’ SUITS
190 OTHER CONTRACT
195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK

210 LAND CONDEMNATION

220 FORECLOSURE

230 RENT LEASE & EJECTMENT

240 TORTS TO LAND

245 TORT PRODUCT LIABILITY
290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK
310 AIRPLANE
315 AIRPLANE PRODUCT LIABILITY
320 ASSAULT, LIBEL & SLANDER
330 FEDERAL EMPLOYERS’ LIABILITY
340 MARINE
345 MARINE PRODUCT LIABILITY
350 MOTOR VEHICLE
355 MOTOR VEHICLE PRODUCT LIABILITY
360 OTHER PERSONAL INJURY
362 PERSONAL INJURY - MEDICAL
MALPRACTICE
[[) 365 PERSONAL INJURY - PRODUCT LIABILITY
C367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY
| 368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK
370 OTHER FRAUD
(CJ 371 TRUTH IN LENDING
380 OTHER PERSONAL PROPERTY DAMAGE
A 385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK

422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 157

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK
440 OTHER CIVIL RIGHTS

441 VOTING

{|_| 442 EMPLOYMENT

|_} 443 HOUSING/ ACCOMMODATIONS.

|_} 445 AMERICANS with DISABILITIES - Employment
|_} 446 AMERICANS with DISABILITIES - Other

(CJ 448 EDUCATION

 
  
 
 
 
 
   

IMMIGRATION - "0" MONTHS DISCOVERY TRACK
462 NATURALIZATION APPLICATION
465 OTHER IMMIGRATION ACTIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY
TRACK
463 HABEAS CORPUS- Alien Detainee
510 MOTIONS TO VACATE SENTENCE
530 HABEAS CORPUS
535 HABEAS CORPUS DEATH PENALTY
540 MANDAMUS & OTHER
550 CIVIL RIGHTS - Filed Pro se
555 PRISON CONDITION(S) - Filed Pro se
[-] 560 CIVIL DETAINEE: CONDITIONS OF
CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY
TRACK

l ] 550 CIVIL RIGHTS - Filed by Counsel

[EZ] 555 PRISON CONDITION(S) - Filed by Counsel

FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
TRACK
CO 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
oO 690 OTHER

LABOR - "4" MONTHS DISCOVERY TRACK
(LJ 710 FAIR LABOR STANDARDS ACT
720 LABOR/MGMT. RELATIONS
740 RAILWAY LABOR ACT
751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION
= 791 EMPL. RET. INC. SECURITY ACT

PROPERTY RIGHTS - "4" MONTHS DISCOVERY
TRACK
820 COPYRIGHTS
[4 840 TRADEMARK

 

PROPERTY RIGHTS - "8" MONTHS DISCOVERY
TRACK

830 PATENT
835 PATENT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a

Hatch-Waxman cases

SOCIAL SECURITY - "0" MONTHS DISCOVERY
TRACK
861 HIA (1395ff)

862 BLACK LUNG (923)
863 DIWC (405(g))

863 DIWW (405(g))

864 SSID TITLE XVI

H 865 RSI (405(g))

 

FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
TRACK

[-] 870 TAXES (U.S. Plaintiff or Defendant)

($871 IRS - THIRD PARTY 26 USC 7609

OTHER STATUTES - "4" MONTHS DISCOVERY.
TRACK
375 FALSE CLAIMS ACT
376 Qui Tam 31 USC 3729(a)
400 STATE REAPPORTIONMENT
430 BANKS AND BANKING
450 COMMERCE/ICC RATES/ETC.
460 DEPORTATION
470 RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS
480 CONSUMER CREDIT
490 CABLE/SATELLITE TV
890 OTHER STATUTORY ACTIONS
891 AGRICULTURAL ACTS
893 ENVIRONMENTAL MATTERS
895 FREEDOM OF INFORMATION ACT
899 ADMINISTRATIVE PROCEDURES ACT /
REVIEW OR APPEAL OF AGENCY DECISION
950 CONSTITUTIONALITY OF STATE STATUTES

 

QO OO00000

OTHER STATUTES - "8" MONTHS DISCOVERY

TRACK
410 ANTITRUST

A 850 SECURITIES / COMMODITIES / EXCHANGE

 

OTHER STATUTES - ‘“0" MONTHS DISCOVERY
TRACK
I J 896 ARBITRATION

(Contirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE TYPE.
SEE LOCAL RULE 26.3

 

VII. REQUESTED IN COMPLAINT:

CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23

DEMAND §$

JURY DEMAND O YES NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

 

VIII. RELATED/REFILED CASE(S) IF ANY

JUDGE

DOCKET NO.

 

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
Oo J. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
([)2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

(3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT,
(4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE.

(15. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
(6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

(17. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.
DISMISSED. This case [J 1s [JIS NOT (check one box) SUBSTANTIALLY THE SAME CASE.

,» WHICH WAS

 

o A

SIGNATURE OF ATTORNEY OF RECORD
